         Case 17-33550 Document 1625 Filed in TXSB on 05/22/19 Page 1 of 1




UNITED STATES BANKRUPTCY COURT                                         SOUTHERN DISTRICT OF TEXAS
                                                                                                           ENTERED
                                                                                                           05/22/2019
                                         MOTION AND ORDER
                                     FOR ADMISSION PRO HAC VICE

          Division                   Houston               Main Case Number                 17-33550
          Debtor            In Re:                  Ignite Restaurant Group, Inc. et al.


This lawyer, who is admitted to the State Bar of                   California                  :

                       Name                             Jason S. Pomerantz
                       Firm                             Pachulski Stang Ziehl & Jones LLP
                       Street                           10100 Santa Monica Blvd., 13th Floor
                 City & Zip Code                        Los Angeles, CA 90067
                    Telephone                           (310) 277-6910
                                                        CA # 157216
             Licensed: State & Number

Seeks to appear as the attorney for this party:

               Drivetrain, LLC as Trustee of Ignite Restaurant Group GUC Trust


 Dated:                                   Signed: /s/ Jason S. Pomerantz




 COURT USE ONLY: The applicant’s state bar reports their status as:                                    .



 Dated:                                   Signed:
                                                           Deputy Clerk



                                                     Order (Docket No. 1621)


                                     This lawyer is admitted pro hac vice.
                       The lawyer shall review the Local Rules and the Court's published procedures.
Dated:
                                                           United States Bankruptcy Judge
         Signed: May 22, 2019

                                                          ____________________________________
                                                          DAVID R. JONES
                                                          UNITED STATES BANKRUPTCY JUDGE
